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 6
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 7 United States of America

 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-315 JAM
12
                                   Plaintiff,            STIPULATION CONTINUING DATES TO FILE
13                                                       OPPOSITION; [PROPOSED] ORDER
                            v.
14                                                       DATE: August 20, 2015
     LEE LOOMIS,                                         TIME: 2:00 p.m.
15                                                       COURT: Hon. Edmund F. Brennan
                                   Defendant.
16

17

18                                               STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

20 through defendant’s counsel of record, hereby stipulate as follows:

21          1.      On July 30, 2015, the defendant filed motions for disclosure of witness list and a bill of

22 particulars. Those motions were noticed to be heard on August 20, 2015, at 2:00 p.m.

23          2.      By this stipulation, the parties move to extend the time by which the government must

24 file its opposition to those motions to August 13, 2015. The reason for the extension is that the parties

25 are engaging in informal discussion to determine whether the motions can be withdrawn without the

26 need for an in-court hearing.

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      STIPULATION TO EXTEND GOVERNMENT’S                 1
      TIME TO FILE OPPOSITIONS
             Case 2:12-cr-00315-JAM Document 254 Filed 08/07/15 Page 2 of 2


 1         3.     The parties agree that all other dates are to remain the same.

 2         IT IS SO STIPULATED.

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 4
     Dated: August 6, 2015                                  BENJAMIN B. WAGNER
 5                                                          United States Attorney
 6
                                                            /s/ JARED C. DOLAN
 7                                                          JARED C. DOLAN
                                                            Assistant United States Attorney
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 9
     Dated: August 6, 2015                                  /s/ DAVID FISCHER
10                                                          DAVID FISCHER
11                                                          Counsel for Defendant
                                                            LEE LOOMIS
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15                                         [PROPOSED] ORDER

16         IT IS SO ORDERED this 6th day of August, 2015.

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19                                                   THE HONORABLE EDMUND F. BRENNAN
                                                     UNITED STATES MAGISTRATE JUDGE
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      STIPULATION TO EXTEND GOVERNMENT’S                2
      TIME TO FILE OPPOSITIONS
